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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20188-Ml

JAMES IVY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
MONDAY, JUNE 13, 2005 at 3:00 P.M. before United States Magistrate Judge Ttl M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

C_._--__"_"'_"_’
Date: June 9, 2005 KN`%

TU M, PHAM
UNITED STATES MAGISTRATE IUDGE

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(i) are present. Subsection (l ) sets fort
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attomey for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j usti ce, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or juror.

AO 4?0 {BIBE) Orderof Temporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20188 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

